       Case 1:11-cr-00354-JLT Document 706 Filed 10/12/16 Page 1 of 2


     HEATHER E. WILLIAMS, Bar #122664
1    Federal Defender
     HANNAH LABAREE, Bar #294338
2    Assistant Federal Defender
     801 I Street, 3rd Floor
3    Sacramento, California 95814
     Telephone: (916) 498-5700
4
     Attorneys for Defendant
5    FELIPE GUTIERREZ
6
                            IN THE UNITED STATES DISTRICT COURT
7
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,                 )   Case No. 1: 11-cr-354 LJO
10                                             )
                            Plaintiff,         )   UNOPPOSED REQUEST FOR
11                                             )   EXTENDED BRIEFING SCHEDULE;
            v.                                 )   [lodged] ORDER
12                                             )
     FELIPE GUTIERREZ,                         )   RETROACTIVE DRUGS-MINUS-TWO
13                                             )   AMENDMENT CASE
                            Defendant.         )
14                                             )   Judge: Hon. LAWRENCE J. O’NEILL
15
16          Pursuant to Local Rule 144, the undersigned, Assistant Federal Defender Hannah R.

17   Labaree, hereby requests that the deadline to file the reply to the government’s opposition, be

18   extended to October 18, 2016. Government counsel has graciously indicated she has no

19   objection.

20   Dated: October 11, 2016

21                                                        Respectfully submitted,

22                                                        HEATHER E. WILLIAMS
                                                          Federal Defender
23
                                                          /s/ Hannah R. Labaree
24                                                        HANNAH R. LABAREE
                                                          Assistant Federal Defender
25
26
27
28

     STIPULATED BRIEFING SCHEDULE                     1
       Case 1:11-cr-00354-JLT Document 706 Filed 10/12/16 Page 2 of 2



1                                                ORDER
2           Pursuant to the parties’ stipulation, and good cause appearing therefor, the reply to the
3    government’s opposition shall be filed on or before October 18, 2016.
4
     IT IS SO ORDERED.
5
6       Dated:     October 11, 2016                        /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     STIPULATED BRIEFING SCHEDULE                     2
